       Case 4:09-cr-40038-PMF                       Document 79               Filed 06/17/09           Page 1 of 3           Page ID #139
~AO 2451    (Rev. 12/07) Judgment in a Criminal Case for a Petty Offense
            Sheet 1



                                   UNITED STATES DISTRICT COURT                                                                FILED
                                                        Southern District of Illinois
                                                                                                                               JUN 16 2009
      UNITED STATES OF AMERICA                                             Judgment in a Criminal Case
                                                                           (For a Petty Offense)                      CLERK. U.S. DISTRICT COURT
                          v.                                                                                        SOUTHERN DISTRICT OF ILLINOIS
             Fabian Garcia-Franco                                                                                          BENTON OFFICE
                                                                           Case No.     09-40038-PMF-13

                                                                           USM No. 08205-025
                                                                           Jared P. Martin, Judith A. Kuenneke
                                                                                                     Defendant's Attorney
THE DEFENDANT:

rJ THE DEFENDANT pleaded                   rtfguilty D nolo contendere to count(s) _2                                                          _
D THE DEFENDANT was found guilty on count(s)
The defendant is adjudicated guilty of these offenses:




       The defendant is sentenced as provided in pages 2 through                  4
D THE DEFENDANT was found not guilty on count(s)
D Count(s)                                                    D is         D are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname,
residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

Last Four Digits of Defendant's Soc. Sec. No.:               _             06/11/2009

Defendant's Year of Birth:        1990

City and State of Defendant's Residence:
                                                                                       Q?0~------    Signature of Judge

                                                                           Hon. Philip M. Frazier                           Magistrate Judge
                                                                                                   Name and Title of Judge

                                                                           06/16/2009
                                                                                                            Date
          Case 4:09-cr-40038-PMF                     Document 79             Filed 06/17/09         Page 2 of 3      Page ID #140
AO 2451    (Rev. 12/07) Judgment in a Criminal Case for a Petty Offense
           Sheet 2 - Imprisonment

                                                                                                       Judgment - Page   _..:2=--_ of   4
DEFENDANT: Fabian Garcia-Franco
CASE NUMBER: 09-40038-PMF-13

                                                                 IMPRISONMENT

    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:
                          Time served.




o    The court makes the following recommendations to the Bureau of Prisons:




o    The defendant is remanded to the custody of the United States Marshal.

o    The defendant shall surrender to the United States Marshal for this district:
     o     at                                       o     a.m.        o    p.m.    on
     o     as notified by the United States Marshal.

o    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
     o before 2 p.m. on
     o as notified by the United States Marshal.
     o     as notified by the Probation or Pretrial Services Office.


                                                                          RETURN

I have executed this judgment as follows:




     Defendant delivered on                                                               to

at                                                        with a certified copy of this judgment.




                                                                                                    UNITED STATES MARSHAL


                                                                             By                                                         _
                                                                                               DEPUTY UNITED STATES MARSHAL
          Case 4:09-cr-40038-PMF                      Document 79              Filed 06/17/09          Page 3 of 3        Page ID #141
AO 2451    (Rev. 12/07) Judgment in a Criminal Case for a Petty Offense
           Sheet 3 - Criminal Monetary Penalties
                                                                                                        Judgment - Page       3   of     4
DEFENDANT: Fabian Garcia-Franco
CASE NUMBER: 09-40038-PMF-13
                               CRIMINAL MONETARY PENALTIES

    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 4.


                       Assessment                                                                               Restitution
TOTALS             $ 10.00                                                $                                 $


DO The determination of restitution is deferred until                             . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

o   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
    otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal
    victims must be paid in full prior to the Umted States receiving payment.




TOTALS                              $                             0.00        $                         0.00


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution or a fine of more than $2,500, unless the fine or restitution is paid in full before the
     fifteenth day after the date ofthejudgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 4 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     D the interest requirement is waived for                 D   fine        D     restitution.

     D     the interest requirement for           D    fine       D       restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
